









Affirmed and Memorandum Opinion filed August 4, 2005









Affirmed and Memorandum Opinion filed August 4, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-01023-CR

NO.
14-04-01024-CR

NO.
14-04-01025-CR

____________

&nbsp;

BRENDALYN
LANE, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
174th District Court

Harris County,
Texas

Trial Court Cause Nos.
990,004; 990,005; &amp; 990,376

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

Appellant entered a plea of no contest to the offenses of
injury to a child; injury to a child, and aggravated robbery.&nbsp; After a pre-sentence investigation and a
hearing, the trial court assessed punishment at ten years=, ten years=, and forty years= confinement.&nbsp; Appellant filed a written notice of
appeal.&nbsp; 








Appellant=s appointed counsel filed a brief in which he concludes the
appeal is wholly frivolous and without merit.&nbsp;
The brief meets the requirements of Anders v. California, 386
U.S. 738, 87 S.Ct. 1396 (1967), presenting a professional evaluation of the
record demonstrating why there are no arguable grounds to be advanced.&nbsp; See High v. State, 573 S.W.2d 807
(Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of the
right to examine the appellate record, which she received on May 6, 2005.&nbsp; No pro se response has been filed.

We agree the appeal is wholly frivolous and without
merit.&nbsp; Further, we find no reversible
error in the record.&nbsp; A discussion of the
brief would add nothing to the jurisprudence of the State.

Accordingly, the judgments of the trial court are affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed August 4, 2005.

Panel consists of Justices
Edelman, Seymore, and Guzman.

Do Not Publish C Tex. R. App. P. 47.2(b).





